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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

  UNITED STATES OF AMERICA ex rel.
  JOSEPH SEIKEL and TERENCE SEIKEL,

          Plaintiffs,

  v.                                                 Civil Action No. 1:23-cv-00001
                                                     Honorable Thomas S. Kleeh
  DAVID B. ALVAREZ; APPLIED
  CONSTRUCTION SOLUTIONS, INC.;
  ENERGY TRANSPORTATION, LLC;
  ENERGY RESOURCE GROUP, LLC;
  ET360, LLC; BEAR CONTRACTING, LLC;
  BEAR UTILITIES, LLC; JASON P.
  HENDERSON; and JOHN DOES NOS. 1-50,
  FICTITIOUS NAMES;

          Defendants.

                   MEMORANDUM OF LAW IN SUPPORT OF
       HENDERSON DEFENDANTS’ MOTION TO DISMISS AMENDED COMPLAINT

 I.      INTRODUCTION

         Defendants Jason P. Henderson, Energy Resource Group, LLC, and ET360, LLC

 (collectively, the “Henderson Defendants”), by and through counsel, submit this memorandum of

 law in support of their motion to dismiss the amended complaint. The Court should dismiss the

 Amended Complaint for False Claims Act Violations Under 31 U.S.C. §§ 3729–3733 filed by

 Joseph Seikel and Terence Seikel (collectively, “the Seikels”) for the following reasons. First, the

 Seikels are not qualified to bring this qui tam action as relators. Second, the Seikels fail to allege

 fraud with the requisite particularity pursuant to Federal Rule of Civil Procedure 9(b). Third, the

 Seikels fail to state a claim under the False Claims Act (“FCA”) upon which relief can be granted

 pursuant to Federal Rule of Civil Procedure 12(b)(6). The Court should thus dismiss the amended

 complaint against the Henderson Defendants with prejudice.
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 II.    STATEMENT OF THE CASE AND RELEVANT FACTS

        A.      Paycheck Protection Program.

        On March 13, 2020, President Trump declared a state of emergency due to the ongoing

 COVID-19 pandemic. Additionally, President Trump signed into law the Coronavirus Aid, Relief,

 and Economic Security Act, Pub. L. 116-136, 134 Stat. 281 (the “CARES Act”), which allowed

 the U.S. Small Business Administration (“SBA”) to guarantee 100% of 7(a) loans under a new

 Paycheck Protection Program (“PPP”).

                1.      Definition of Small Business.

        The SBA has established a series of regulations that govern what businesses are eligible

 for a PPP loan. An entity generally is eligible for a PPP loan if it, combined with its affiliates, is

 (i) a small business as defined in Section 3 of the Small Business Act (15 U.S.C. § 632); (ii) has

 500 or fewer employees whose principal place of residence is in the United States; or (iii) is a

 business that operates in certain industries and meets applicable employee-based size standards for

 that industry.1 The SBA published additional guidance through frequently asked questions, which

 guidance states that “[b]orrowers and lenders may rely on the guidance provided in this document

 as SBA’s interpretation of the CARES Act and of the Paycheck Protection Program Interim Final

 Rule (“PPP Interim Final Rule”) . . . .”2

        In its first version of these Paycheck Protection Program Loans Frequently Asked

 Questions, which was issued on April 6, 2020 (“April 6, 2020 FAQs”), the SBA explains that a

 small business with more than 500 employees could qualify for PPP consideration:




 1
   See Business Loan Program Temporary Changes; Paycheck Protection Program, 85 Fed. Reg. 20811–17
 (Apr. 15, 2020).
 2
    See Office of Capital Access, FAQ for PPP Borrowers and Lenders, SBA.GOV (Apr. 6, 2020),
 https://www.sba.gov/document/support-faq-ppp-borrowers-lenders.


                                                   2
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         Question: Are small business concerns (as defined in section 3 of the Small
         Business Act, 15 U.S.C. 632) required to have 500 or fewer employees to be
         eligible borrowers for First Draw PPP Loans?

         Answer: No. Small business concerns can be eligible borrowers for First Draw PPP
         Loans even if they have more than 500 employees, as long as they satisfy the
         existing statutory and regulatory definition of a “small business concern” under
         section 3 of the Small Business Act, 15 U.S.C. 632. A business can qualify if it
         meets the SBA employee-based or revenue-based size standard corresponding to
         its primary industry. Go to www.sba.gov/size for the industry size standards.

         Additionally, a business can qualify for a First Draw PPP Loan as a small business
         concern if it met both tests in SBA’s “alternative size standard” as of March 27,
         2020: (1) maximum tangible net worth of the business is not more than $15 million;
         and (2) the average net income after Federal income taxes (excluding any carry-
         over losses) of the business for the two full fiscal years before the date of the
         application is not more than $5 million.

         A business that qualifies as a small business concern under section 3 of the Small
         Business Act, 15 U.S.C. 632, may truthfully attest to its eligibility for a First Draw
         PPP Loan on the Borrower Application Form, unless otherwise ineligible.3

         This guidance expressly applies to First Draw PPP Loans, without restriction on when the

 application was submitted. As the FAQs state, the SBA’s “alternative size standard” is a two-prong

 test.4 First, the entity, and all of its affiliated companies, cannot have a maximum tangible net

 worth in excess of $15 million. Second, the entity, and all of its affiliated companies, cannot have

 an average net income after federal income taxes for two full fiscal years that exceeds $5 million.

 This test does not require the entity, and its affiliated companies, to have 500 or fewer employees.




 3
   See Office of Capital Access, FAQ for PPP Borrowers and Lenders, SBA.GOV (Apr. 6, 2020),
 https://www.sba.gov/document/support-faq-ppp-borrowers-lenders. This response was included through
 the most recent FAQs in July 2022. See Office of Capital Access, FAQ for PPP Borrowers and Lenders,
 SBA.GOV (July 8, 2022), https://www.sba.gov/document/support-faq-ppp-borrowers-lenders.
 4
   The Alternative Size Standard was created in a September 29, 2010 notice explaining that the Small
 Business Jobs Act of 2010 required the SBA to create an alternative size standard for small business
 classifications because the “small business concern” test was too restrictive. See Small Business
 Administration, Small Business Jobs Act: New Alternative Size Standard for 7(a) and 504 Loans, SBA.GOV
 (Sept. 29, 2010), https://www.sba.gov/document/information-notice-5000-1175-small-business-jobs-act-
 new-alternative-size-standard-7a-and-504-loans. The SBA has not updated the alternative size standard,
 and the two-prong test in the 2010 notice is the same two-prong test listed in Question 2 of the PPP FAQs.


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                2.      Affiliation Rules.

        Under the affiliation rules for SBA loans (“SBA Affiliation Rules”), “concerns and entities

 are affiliates of each other when one controls or has the power to control the other, or a third party

 or parties controls or has the power to control both.” 13 C.F.R. § 121.301 (2022). Under the SBA

 Affiliation Rules, there are four tests based on control that PPP applicants are required to consider

 when determining whether the applicant has affiliates. Those tests are: (1) affiliation based on

 equity ownership; (2) affiliation arising under stock options, convertible securities, and agreements

 to merge; (3) affiliation based on management; and (4) affiliation based on identity of interest. Id.5

        The CARES Act initially suggested that affiliation should be tested under 13 CFR

 § 121.103(a). Under those regulations, the SBA considered factors such as “ownership,

 management, previous relationship with or ties to another concern, and contractual relationships,

 in determining whether affiliation exists.”6 Additionally, the SBA could consider the “totality of

 the circumstances” when determining whether affiliation exists.7 However, the SBA’s recent

 guidance on affiliation points applicants toward the affiliation standards contained in the 2019

 version of Section 121.301(f), set forth above.8 In doing so, the SBA expressly limited the scope

 of those rules by focusing on only those four tests for affiliation. See 13 CFR § 121.301(f).9 The

 SBA thus allowed applicants to disregard the other affiliation tests, most notably the test based on

 the “totality of the circumstances.” The SBA’s “Small Business Compliance Guide: A Guide to

 the SBA’s Size Program and Affiliation Rules” clearly states that affiliation based on the totality


 5
   See also Office of Capital Access, Affiliation Rules for Paycheck Protection Program, SBA.GOV (Apr. 3,
 2020), https://www.sba.gov/document/support-affiliation-rules-paycheck-protection-program.
 6
   13 C.F.R. § 121.103(a).
 7
   13 C.F.R. § 121.103(a)(5).
 8
   Section 1102(e) of the CARES Act permanently rescinded the SBA’s February 2020 amendment to
 section 121.301.
 9
   See also Office of Capital Access, Affiliation Rules for Paycheck Protection Program, SBA.GOV (Apr. 3,
 2020), https://www.sba.gov/document/support-affiliation-rules-paycheck-protection-program.


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 of circumstances does not apply to the Business Loan, Disaster Loan, and Surety Bond Programs.10

        B.      Procedural Background.

        Defendant Jason P. Henderson (“Henderson”) is a resident of Stonewood, Harrison

 County, West Virginia. Henderson is the owner of Defendant Energy Resource Group, LLC

 (“ERG”)11 and Defendant ET360, LLC (“ET360”)12 (collectively, the “Henderson Companies”).

 Generally, the Henderson Companies service or, in the case of ET360, formerly serviced the oil

 and gas industry. ERG performs geomembrane installations for environmental containments,

 waste disposal sites, and water storage solutions for industrial sites, the oil and gas industry, and

 municipal waste disposal sites. ET360 performed Industrial/Environmental Cleaning services and

 Water Transportation. Like many small businesses, the Henderson Defendants experienced

 economic hardship as a result of the coronavirus pandemic. In an attempt to mitigate that hardship,

 the Henderson Defendants applied for PPP loans in the early days of PPP and utilized an

 accounting firm and its qualified certified public accountants to prepare the loan applications.

 These qualified professionals were familiar with the Henderson Defendants from previous

 business dealings and assisted the Henderson Defendants with ensuring each entity that applied

 was qualified for the PPP loans, and the Henderson Defendants’ PPP applications were approved.

 ERG submitted an application for the second round of PPP funding in February 2021 but received

 no response. Further, the Henderson Defendants have yet to have their PPP loans forgiven.

        The Seikels allege that Joseph Seikel is a resident of Michigan and that Terence Seikel is


 10
    See Office of Government Contracting and Business Development, Affiliation Guide for Size Standards¸
 SBA.GOV (July 13, 2020), https://www.sba.gov/document/support-affiliation-guide-size-standards.
 11
    Information regarding ERG is publicly available on the West Virginia Secretary of State website:
 https://apps.wv.gov/SOS/BusinessEntitySearch/Details.aspx?Id=58nN/550O27FJ7pbwWK/cQ==&Searc
 h=tFooM7gt0Q7ZFD3whb%2fsp%2fdPe5IOoqhiaSpdicS1Xtg%3d&Page=0.
 12
    Information regarding ET360 is publicly available on the West Virginia Secretary of State website:
 https://apps.wv.gov/SOS/BusinessEntitySearch/Details.aspx?Id=T6InEQ+a1MOwRuDJV6xs0g==&Sear
 ch=%2f6JcgAC5d756touNixfy8w%3d%3d&Page=0.


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 a resident of South Carolina. ECF No. 80 ¶ 22. The Seikels further allege to be “insiders who have

 direct knowledge of the conduct alleged in [the] Amended Complaint and conducted an

 independent investigation to uncover false claims submitted to the United States.” Id. ¶ 23. What

 the Seikels fail to disclose, however, is that they in fact are not “insiders” with “direct knowledge”

 but rather are owners and members of Octane Environmental, LLC (“Octane”), an Ohio limited

 liability company with its principal office in Bridgeport, West Virginia,13 which is a business

 competitor to the Henderson Companies and the other Defendants named in this matter. As plainly

 stated on its publicly available website, the mission of Octane is “to be a leading, high quality

 supplier of water management, containment, and related services for the oil and gas industry.”14

        On October 22, 2020, the Seikels, on behalf of the United States of America, initiated the

 instant qui tam action in the United States District Court for the Eastern District of Pennsylvania

 by filing, under seal, their Complaint for False Claims Act Violations Under 31 U.S.C. §§ 3729–

 3733 against the Henderson Defendants; Defendants David B. Alvarez (“Alvarez”), Applied

 Construction Solutions, Inc. (“ACS”), and Energy Transportation, LLC (collectively, the “Alvarez

 Defendants”); Bear Contracting, LLC, and Bear Utilities, LLC (collectively, the “Urso

 Defendants”); and John Does Nos. 1–50, Fictitious Names. ECF No. 1. The complaint asserted

 four counts: (1) Violation of False Claims Act, 31 U.S.C. § 3729(a)(1)(A); (2) Violation of False

 Claims Act, 31 U.S.C. § 3729(a)(1)(B); (3) Violation of False Claims Act, 31 U.S.C. §

 3729(a)(1)(C); and (4) Violation of False Claims Act, 31 U.S.C. § 3729(a)(1)(G). Id. at 38–41.

        Shortly after the complaint was filed, the Department of Justice began investigating the

 Seikels’ claims. The Department of Justice first contacted the Henderson Defendants on March


 13
    Information regarding Octane is publicly available on the West Virginia Secretary of State website:
 https://apps.wv.gov/SOS/BusinessEntitySearch/Details.aspx?Id=5FhHg7atDnCHTDl9nmvkPQ==&Searc
 h=ldEjbj8TL5R0xDbJ8CdE3wbHNDQqdw%2fPDwJjkcutHoE%3d&Page=0.
 14
    The Octane website is publicly available at: https://octaneenvironmental.com/.


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 25, 2021. The Henderson Defendants readily cooperated with the Department of Justice, producing

 several explanatory memos and thousands of pages of supporting documentation. On July 26,

 2022, the United States District Court for the Eastern District for Pennsylvania ordered the United

 States to decide if it was going to intervene and ordered the complaint to be unsealed by August

 25, 2022. On August 24, 2022, the Department of Justice filed a notice stating that its

 “investigation ha[d] not been completed and, it [was] therefore unable to decide, as of the Court’s

 deadline, whether to proceed with the action. Accordingly, . . . it [was] not intervening at th[at]

 time.” ECF No. 23. The complaint was then unsealed on August 25, 2022.

        The Court also issued Summons to the Defendants on August 25, 2022. ECF No. 25. On

 November 1, 2022, a Deputy Clerk for the Eastern District of Pennsylvania informed counsel for

 the Seikels that, if service was not made by November 23, 2022, the Court would dismiss the

 complaint without prejudice for lack of prosecution. ECF No. 26. On November 23, 2022, the

 Henderson Defendants and Alvarez Defendants each filed a Waiver of the Service of Summons

 and were served with the complaint. ECF Nos. 32, 33.15

        On November 9, 2022, the Alvarez Defendants filed their Motion to Transfer Venue Under

 28 U.S.C. § 1404(a), requesting that the court transfer the litigation to the Northern District of

 West Virginia. ECF No. 28. On November 16, 2022, the Henderson Defendants filed their Notice

 of Joinder to Alvarez Defendants’ Motion to Transfer Venue Under 28 U.S.C. § 1404(a). ECF No.

 30. The Seikels filed their response on December 14, 2022. ECF No. 34. A hearing on the Alvarez

 Defendants’ motion was held on January 4, 2023, during which the Eastern District of



 15
   The Seikels never served the Urso Defendants with the original complaint. Upon information and belief,
 the Henderson Defendants understand that the Urso Defendants were investigated by the Department of
 Justice, which discovered no malfeasance by those entities. Afterwards, the SBA forgave the Urso
 Defendants’ PPP loans. See Tracking PPP: Search Every Company Approved for Federal Loans,
 PROPUBLICA.ORG (Jan. 11, 2023), https://projects.propublica.org/coronavirus/bailouts/.


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 Pennsylvania court ruled from the bench that the matter should be transferred. See ECF No. 40.

 By order dated January 4, 2023, the Eastern District of Pennsylvania court granted the Alvarez

 Defendants’ motion to transfer venue and directed that the case be transferred to the Northern

 District of West Virginia. ECF No. 41. By joint stipulation of the parties, and by order entered on

 January 26, 2023, the time for the Henderson Defendants and Alvarez Defendants to file

 responsive pleadings was extended through February 28, 2023. ECF No. 56.

        On February 28, 2023, the Henderson Defendants filed a Motion to Dismiss and Amended

 Memorandum in Support. ECF Nos. 63, 65. The Alvarez Defendants also filed a Motion to

 Dismiss. ECF Nos. 66, 67. On March 13, 2023, the Henderson Defendants, the Alvarez

 Defendants, and the Seikels filed a Joint Stipulation, wherein the parties consented to the Seikels

 filing an amended complaint pursuant to Federal Rule of Civil Procedure 15(A)(1)(B), as well as

 the following deadlines: (1) April 4, 2023, for the Seikels to file their amended complaint; (2)

 thirty days after the filing of the amended complaint for Defendants to file a responsive pleading;

 and (3) thirty days thereafter for the Seikels to respond to any motions to dismiss. ECF No. 73.

 Defendants also reserved their right to object to the amended complaint, except for untimeliness.

 Id. On March 14, 2023, the Court entered an Order Adopting Joint Stipulation. ECF No. 74.

        On April 4, 2023, the Seikels filed a Motion for Leave to File Amended Complaint Under

 Seal. ECF No. 75. On April 11, 2023, the Court entered an Order Denying Motion for Leave to

 File Amended Complaint Under Seal. ECF No. 78. The Court explained:

        [T]he Amended Complaint asserts no new claims, no new causes of action, and no
        new theories of recovery, and it adds no new defendants. It asserts the same four
        counts that are asserted in the Complaint. The Amended Complaint, attached to the
        pending motion, was not submitted until after Defendants filed their motions to
        dismiss. . . . The basic factual framework and allegations of fraud remain the same
        as when the United States initially provided its Notice that it did not intend to
        intervene.




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 Id. at 3–4.16 On April 12, 2023, the Amended Complaint for False Claims Act Violations Under

 31 U.S.C. §§ 3729–3733 was filed. ECF No. 80.17 The amended complaint alleges the same four

 counts: (1) Violation of False Claims Act, 31 U.S.C. § 3729(a)(1)(A); (2) Violation of False Claims

 Act, 31 U.S.C. § 3729(a)(1)(B); (3) Violation of False Claims Act, 31 U.S.C. § 3729(a)(1)(C); and

 (4) Violation of False Claims Act, 31 U.S.C. § 3729(a)(1)(G). Id. at 52–54.

         On April 28, 2023, the Court unsealed the United States’ Notice of Election to Decline

 Intervention, which was filed under seal on April 7, 2023. ECF No. 76.

 III.    LEGAL STANDARD

         A motion to dismiss filed pursuant to Federal Rule of Civil Procedure 12(b)(6) tests the

 legal sufficiency of a complaint. Francis v. Giacomelli, 588 F.3d 186, 192 (4th Cir. 2009). In

 deciding a motion to dismiss, a court may consider facts derived from sources beyond the four

 corners of the complaint, including documents attached to the complaint, documents attached to

 the motion to dismiss so long as they are integral to the complaint and authentic, and facts subject

 to judicial notice. Heslep v. Ams. for Afr. Adoption, Inc., 890 F. Supp. 2d 671, 681 (N.D. W. Va.

 2012) (citing Philips v. Pitt Cnty. Mem’l Hosp., 572 F.3d 176, 180 (4th Cir. 2009)).

         For a complaint to survive a motion to dismiss, it “must contain sufficient factual matter,

 accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S.

 662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 558 (2007)). While a

 complaint does not need detailed factual allegations, a plaintiff’s obligation requires more than

 mere labels and conclusions, and a formulaic recitation of the elements of a cause of action will

 not do. Twombly, 550 U.S. at 555. Well-pleaded facts do not include “legal conclusions drawn



 16
    Also on April 11, 2023, the Court entered an Order denying as moot the Henderson Defendants’ and the
 Alvarez Defendants’ motions to dismiss, due to the filing of the amended complaint. ECF No. 79.
 17
    To date, the Seikels have not served the Urso Defendants with the amended complaint.


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  from the facts,” “unwarranted inferences,” or “unreasonable conclusions or arguments.” Nemet

  Chevrolet, Ltd. v. Consumeraffairs.com, Inc., 591 F.3d 250, 255 (4th Cir. 2009). As the Fourth

  Circuit has summarized:

         Ultimately, a complaint must contain sufficient factual matter, accepted as true, to
         ‘state a claim to relief that is plausible on its face. Facial plausibility is established
         once the factual content of a complaint allows the court to draw the reasonable
         inference that the defendant is liable for the misconduct alleged. In other words, the
         complaint’s factual allegations must produce an inference of liability strong enough
         to nudge the plaintiff’s claims across the line from conceivable to plausible.

  Id. at 255–56 (internal quotations and citations omitted).

  IV.    ARGUMENT

         The Court should dismiss the amended complaint against the Henderson Defendants for

  three reasons. First, the Court lacks jurisdiction because the Seikels are not qualified to be relators

  under the FCA. Second, the Seikels have failed to allege fraud with particularity. Third, the Seikels

  fail to state a claim under the FCA upon which relief can be granted.

         A.      The Court Lacks Jurisdiction Because the Seikels Are Not Qualified to Be
                 Relators Under the FCA.

         The Court should dismiss the amended complaint for lack of subject matter jurisdiction

  because the Seikels are not qualified to bring this qui tam action as relators under the FCA. The

  public disclosure bar requires dismissal because the allegations in the amended complaint have

  been publicly disclosed, and the Seikels are not original sources or insiders.

         The FCA authorizes a private person to bring a claim for violation of Section 3729 on

  behalf of that person and the United States. See 31 U.S.C. § 3730(b). The FCA also bars certain

  actions. The public disclosure bar provides that courts “shall dismiss an action or claim under [§

  3730] . . . if substantially the same allegations or transactions as alleged in the action or claim were

  publicly disclosed . . . unless . . . the person bringing the action is an original source of the

  information.” 31 U.S.C. § 3730(e)(4). As such, when the allegations in a complaint were publicly


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  disclosed before the suit was filed, the public disclosure bar will be triggered. United States ex rel.

  May v. Purdue Pharma L.P., 811 F.3d 636, 642 (4th Cir. 2016).18 The public disclosure bar will

  also be triggered where a purported relator “(1) know[s] of no useful new information about the

  scheme they allege, and (2) learned of the relevant facts through knowledge their attorney acquired

  when previously litigating the same fraud claim.” Id. at 643. “The public disclosure bar

  ‘encompasses actions even partly based upon prior public disclosures.’” United States ex rel. Jones

  v. Collegiate Funding Servs., Inc., 469 F. App’x 244, 254 (4th Cir. 2012). Further, pursuant to the

  latest version of the FCA, “the public-disclosure bar no longer requires actual knowledge of the

  public disclosure, but instead applies if substantially the same allegations or transactions were

  publicly disclosed.” United States ex rel. Beauchamp, 816 F.3d at 40 (citation omitted).

          If the public disclosure bar is invoked, the court will apply a three-pronged analysis to

  determine “(1) if there was a public disclosure, (2) if the relator’s allegations were ‘based upon’

  the public disclosure, and, if so, (3) whether the relator is nonetheless ‘entitled to original source

  status’ as ‘“an individual who has direct and independent knowledge of the information on which

  the allegations [] are based[.]”’” United States ex rel. Black v. Health & Hosp. Corp. of Marion

  Cnty., 494 F. App’x 285, 293 (4th Cir. 2012) (alterations in original) (citations omitted). “[T]he

  Supreme Court has recognized that the first prong of the public disclosure bar is satisfied if the

  disclosure ‘put[s] the Federal Government on notice of a potential fraud.’” Id. at 294 (citation

  omitted). “Once a defendant files a motion to dismiss based on the public-disclosure bar, the relator

  bears the burden of proving by a preponderance of the evidence that the bar does not apply.” United

  States ex rel. Ahumada v. NISH, 756 F.3d 268, 274 (4th Cir. 2012) (citation omitted).


  18
    “Courts have unanimously construed the term ‘public disclosure’ to include websites and online articles,”
  and “news media” to include newspapers and publicly available websites. United States ex rel. Beauchamp
  v. Academi Training Ctr., 816 F.3d 37, 43 n.6 (4th Cir. 2016) (citing Schindler Elevator Corp. v. United
  States ex rel. Kirk, 563 U.S. 401, 408 (2011)).


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         Here, the public disclosure bar precludes the Seikels’ claims. Allegations of PPP fraud have

  been in the public discourse since shortly after PPP went into effect.19 The Seikels’ allegations did

  not put the Federal Government on notice of potential fraud; their allegations are not unique from

  those which were publicly disclosed before they filed their complaint. Further, the organization,

  management, and operations of the Henderson Defendants, Alvarez Defendants, and Urso

  Defendants are publicly disclosed, as apparent from the face of the amended complaint, as well as

  publicly available information through the West Virginia Secretary of State. Finally, information

  about the Henderson Defendants’, Alvarez Defendants’, and Urso Defendants’ PPP applications

  is publicly available.20 As such, the public disclosure bar applies to the Seikels’ claims.

         Moreover, the Seikels cannot overcome the public disclosure bar because they are not “an

  original source of information.” The FCA defines an “original source” as follows:

         [A]n individual who either (i) prior to a public disclosure under subsection (e)(4)(a),
         has voluntarily disclosed to the Government the information on which allegations
         or transactions in a claim are based or (2) who has knowledge that is independent
         of and materially adds to the publicly disclosed allegations or transactions, and who
         has voluntarily provided the information to the Government before filing an action
         under this section.

  31. U.S.C. § 3730(e)(4)(B). “To establish that his knowledge meets this standard, a relator must

  ‘allege specific facts—as opposed to mere conclusions—showing exactly how and when” he

  obtained it. Ahumada, 756 F.3d at 276 (citation omitted).

         Rather than being original sources or insiders, the Seikels are competitors of the Henderson




  19
     See, e.g., Ben Popkin, Congressional Investigation Finds Over $1 Billion in Coronavirus Aid Fraud,
  NBCNEWS (Sept. 1, 2020), https://www.nbcnews.com/business/economy/congressional-investigation-
  finds-over-1-billion-ppp-fraud-n1239001; Dan Mangan, Coronavirus Fraud: Two New England Men Are
  First to Be Charged with Scamming Small Business Loan Program, CNBC (May 5, 2020),
  https://www.cnbc.com/2020/05/05/coronavirus-men-charged-with-fraud-over-cares-act-ppp-small-
  business-aid.html.
  20
     Tracking PPP: Search Every Company Approved for Federal Loans, PROPUBLICA.ORG (Jan. 11, 2023),
  https://projects.propublica.org/coronavirus/bailouts/.


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  Defendants, Alvarez Defendants, and Urso Defendants.21 Even in the Amended Complaint, the

  Seikels do not specify how they are “insiders” as to Defendants. Nor could they since, as discussed

  above, the Seikels are members of Octane. See supra footnote 13. According to Octane’s publicly

  available website, Octane provides “scalable containment, water storage, and other related services

  to oilfield companies harvesting the Appalachian basin.” Further, that the Seikels are disgruntled

  competitors, rather than insiders, is apparent from the face of the amended complaint.22 For

  example, the Seikels imply that the Henderson Companies and Alvarez Defendants working

  together was problematic. See, e.g., ECF No. 80 ¶¶ 117–18. However, there is nothing improper

  with a business regularly subcontracting with a business owner that it trusts.

          The Seikels are not an “original source” because they do not have “direct and independent

  knowledge of the information on which the allegations are based.” 31 USC § 3730(e)(4)(B). The

  Supreme Court has interpreted the “information” referenced in subparagraph (e)(4)(B) to mean the

  relator’s allegations, not the publicly disclosed allegations. Rockwell Int’l Corp. v. United States,

  549 U.S. 457, 472–73 (2007). The errors on the face of the amended complaint demonstrate that

  the Seikels are not original sources, or insiders, and thus are not qualified to bring this action.

  Specifically, the errors on the face of the amended complaint regarding the qualifications for a



  21
     In separate litigation, this Court denied a motion to compel by Octane and the Seikels, quashing their
  subpoena duces tecum for the records of ERG (a non-party), because the records requests were overbroad
  and sought confidential and “valuable information on a direct competitor” for which they failed to show a
  substantial need. See Richards v. Octane Env’t, LLC, No. 1:18cv00158 (N.D. W. Va.), ECF No. 200. This
  Order noted that the Seikels and Octane “do not dispute that they are competitors with ERG.” Id. at 4.
  22
     The Seikels’ credibility in representing themselves as insiders is further undermined by their own acts in
  other litigation. In a Michigan lawsuit involving a dispute regarding a stock purchase agreement, Terence
  Seikel, who was the defendants’ chief financial officer and who was involved in drafting the stock purchase
  agreement, testified at trial. In reaching its conclusion that there was sufficient evidence to support the
  jury’s verdict in favor of the plaintiffs and against the defendants, the Court of Appeals of Michigan
  recognized that Terence Seikel’s testimony was inconsistent and that his “credibility was seriously
  diminished when plaintiff demonstrated, and Seikel admitted, that he lied to the government on an SEC
  form and in the confidential memorandum that he presented to the bank.” Buzzitta v. Larizza Indus., Inc.,
  No. 214039, 2021 WL 624969, at *2 (Mich. Ct. App. May 25, 2001).


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  “small business” and the affiliation standard demonstrate that the Seikels are not insiders.

         The Seikels vaguely allege that “[w]ith limited exceptions not applicable here, only small

  businesses with 500 or fewer employees are eligible borrowers in the PPP.” ECF No. 80 ¶ 4. In

  discussing the standards for determining the size of a business, the Seikels refer to the size

  standards under the North American Industry Classification System (“NAICS”) codes. See, e.g.,

  id. ¶ 52. Although the Seikels later superficially reference the Alternative Size Standard, their

  allegations fail to acknowledge either the government’s acceptance of the Alternative Size

  Standard as a viable means for a small business to qualify for PPP consideration or the Henderson

  Defendants’ eligibility for PPP consideration under that standard. As discussed more fully below,

  the Alternative Size Standard provides an avenue for a small business to qualify for PPP funding

  regardless of its number of employees. The Seikels’ failure to recognize the significance and

  application of the Alternative Size Standard demonstrates that they are not insiders.

         The Seikels’ misapprehension of the affiliation standards also demonstrates that they are

  not insiders. The Seikels allege that “[t]he SBA uses a totality of the circumstances test and may

  find affiliation even when no single factor is sufficient.” Id. ¶ 60. Application of the totality of the

  circumstances test, however, is improper. Rather, as discussed above, there are only four tests for

  determining affiliation for purposes of PPP: (1) affiliation based on ownership; (2) affiliation

  arising under stock options, convertible securities, and agreements to merge; (3) affiliation based

  on management; and (4) affiliation based on identity of interest. Although the Seikels amend their

  complaint in an attempt to frame their allegations, at least in part, based on proper theories such as

  affiliation based on ownership or affiliation based on management, the face of the amended

  complaint—particularly, its many allegations wholly irrelevant to evaluation of affiliation under

  those standards—reveals that they are nonetheless attempting to establish affiliation based on the




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  inapposite “totality of the circumstances” test. See, e.g., id. ¶¶ 61–64, 104–71.

         Finally, the amended complaint is full of factual allegations that, even assuming they are

  true, are irrelevant to a determination of affiliation under these four tests, and thus cannot be

  viewed as supporting the plausibility of the Seikels’ claims. Such irrelevant allegations include,

  but are not limited to, the following: (1) potentially shuttering a business before receiving PPP

  funds, ECF No. 80 ¶ 167–69; (2) how the entities were originally formed, if formed prior to 2020,

  id. ¶ 74–103; (3) the mailing addresses for the entities, id. ¶ 77, 82, 86, 90; (4) cross-marketing

  strategies of the entities, id. ¶ 127–41; (5) inviting employees of other companies to holiday parties,

  id. ¶ 161; and (6) sharing certain office space and resources, id. ¶¶ 142–62. The Seikels’ failure to

  recognize that allegations such as these are irrelevant to the affiliation determination shows that

  they are not insiders or original sources qualified to bring this action. Accordingly, the Court

  should dismiss the amended complaint for lack of jurisdiction.

         B.      The Amended Complaint Fails to State a Claim Upon Which Relief Can Be
                 Granted.

         The Court should also dismiss the amended complaint for failure to state a claim upon

  which relief can be granted. First, the Seikels fail to allege fraud with sufficient particularity.

  Second, the Seikels fail to state a claim under the FCA upon which relief can be granted.

                 1.      The Seikels Fail to Plead Fraud with Particularity.

         The Court should dismiss the amended complaint because the Seikels fail to plead fraud

  with particularity. Pursuant to Federal Rule of Civil Procedure 9(b), “[i]n alleging fraud or mistake,

  a party must state with particularity the circumstances constituting fraud or mistake.” Fed. R. Civ.

  P. 9(b). In the context of FCA claims, the Fourth Circuit has recognized that a plaintiff may either

  (1) “allege with particularity that specific false claims actually were presented to the government

  for payment,” which requires the relator to “describe the time, place, and contents of the false



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  representations, as well as the identity of the person making the misrepresentation and what he

  obtained thereby”; or (2) allege a pattern of conduct that would “necessarily have led to submission

  of false claims” to the government. United States ex rel. Taylor v. Boyko, 39 F.4th 177, 196 (4th

  Cir. 2022). “To satisfy Rule 9(b), a plaintiff asserting a claim under the Act ‘must, at a minimum,

  describe the time, place, and contents of the false representations, as well as the identity of the

  person making the misrepresentations and what he obtained.’” United States ex rel. Nathan v.

  Takeda Pharms. N. Am., Inc., 707 F.3d 451, 456–57 (4th Cir. 2013) (citation omitted).

         Here, the Seikels have failed to allege their claims of fraud with sufficient particularity.

  Although the Seikels allege that “[a]ll the Affiliated Defendants are controlled and/or managed by

  Defendant David B. Alvarez,” see ECF No. 80 ¶¶ 7–8, and that the Defendants are affiliated, see

  ECF No. 80 ¶¶ 104–162, allegations about the Defendants’ business practices and relationships

  are not specific allegations of fraudulent activity under the FCA. Even as supplemented in the

  amended complaint, the Seikels’ pleading of fraud is devoid of specific details regarding the time,

  place, and contents of the actual false representations.

         More specifically, in Paragraphs 201–208, the Seikels summarily allege that the

  Defendants knowingly defrauded the government by presenting false statements regarding the size

  of their businesses, but the Seikels do not specifically allege details and contents of the Defendants’

  PPP application submissions. Nowhere in the amended complaint do the Seikels allege the dates

  upon which any PPP application was submitted, nor who submitted the PPP applications to the

  SBA on behalf of the Henderson Defendants. The enumerated Counts I–IV largely incorporate

  and rely on the allegations previously stated in the amended complaint and do not contain any

  further or more specific allegations necessary to maintain such claims. The Seikels’ allegations of

  fraud thus lack the required specificity under Rule 9(b) and should be dismissed.




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                 2.      The Court Should Dismiss the Amended Complaint Because the Seikels
                         Fail to Plead a Claim Under the FCA Upon Which Relief Can Be
                         Granted.

         The Court should dismiss the amended complaint pursuant to Rule 12(b)(6) for failure to

  state a claim upon which relief can be granted. In general, a relator must adequately allege four

  elements to state a claim under the FCA: “(1) there was a false statement or fraudulent course of

  conduct; (2) made or carried out with the requisite scienter; (3) that was material; and (4) that

  caused the government to pay out money or to forfeit moneys due (i.e., that involved a ‘claim’).”

  Boyko, 39 F.4th at 188 (quoting Harrison v. Westinghouse Savannah River Co., 176 F.3d 776, 788

  (4th Cir. 1999)). The Seikels expressly allege claims under 31 U.S.C. §§ 3729(a)(1)(A),

  3729(a)(1)(B), 3729(a)(1)(C), and 3729(a)(1)(G), which require that the false statement or

  fraudulent course of conduct be carried out “knowingly.” “For the first element to be met, ‘the

  statement or conduct alleged must represent an objective falsehood.’” United States of Am. ex rel.

  Vitale v. MiMedx Grp., Inc., 381 F.Supp.3d 647, 652 (D.S.C. 2019) (quoting United States ex rel.

  Wilson v. Kellogg Brown & Root, Inc., 525 F.3d 370. 376–77 (4th Cir. 2008)).

         Here, the Seikels have failed to sufficiently state claims under the FCA upon which relief

  can be granted. First, they have failed to sufficiently plead that the Henderson Defendants made a

  false claim because the Seikels fail to sufficiently plead that the Henderson Defendants were

  affiliated with other Defendants and thus not eligible for PPP funding. In the alternative, the

  Seikels fail to sufficiently plead that the Henderson Defendants, even if assumed to be affiliated

  with the other Defendants, did not satisfy the Alternative Size Standard. Second, the Seikels fail

  to sufficiently plead that the purportedly false claims were made with the requisite scienter. Third,

  they fail to sufficiently plead that the purportedly false claims were material to the issuance of PPP

  funding. Accordingly, the Court should dismiss the amended complaint pursuant to Rule 12(b)(6).




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                          a.      The Seikels Fail to Sufficiently Plead That the Henderson
                                  Defendants Were Affiliated with the Other Defendants.

          The amended complaint is premised on the Seikels’ insufficiently pled, and also inaccurate,

  theory that the Defendants are affiliated and, when considered in the aggregate, were ineligible for

  PPP funding. However, by focusing on the inapplicable “totality of the circumstances” test and

  failing to sufficiently plead affiliation under the applicable standards, the Seikels fail to sufficiently

  allege that the Defendants satisfied any of the applicable tests for affiliation. As the Seikels fail to

  sufficiently allege affiliation, the Seikels fail to sufficiently plead that the Defendants submitted

  false claims and violated the FCA, and the Court should thus dismiss the amended complaint.

          An entity is generally eligible for PPP funding if it is (1) a small business defined in Section

  3 of the Small Business Act (15 U.S.C. 632), (ii) has 500 or fewer employees whose principal

  place of residence is in the United States, or (iii) is a business that operates in certain industries

  and meets applicable SBA employee-based size standards for that industry. See Business Loan

  Program Temporary Changes; Paycheck Protection Program, 85 Fed. Reg. 20811–17 (Apr. 15,

  2020). In determining the size of a business, the “SBA counts the receipts, employees, or other

  measure or size of the concern whose size is at issue and all of its domestic and foreign affiliates.”

  13 C.F.R. § 121.103(a)(6). “[C]oncerns and entities are affiliates of each other when one controls

  or has the power to control the other, or a third party or parties controls or has the power to control

  both.” 13 C.F.R. § 121.301(f). There are four tests for determining whether a PPP applicant has

  affiliates: (1) affiliation based on ownership; (2) affiliation arising under stock options, convertible

  securities, and agreements to merge; (3) affiliation based on management; and (4) affiliation based

  on identity of interest. Id. § 121.301(f)(1)–(4).

          Although, read in its entirety, the amended complaint attempts to plead affiliation under

  the totality of the circumstances, even read favorably to the Seikels, the amended complaint



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  attempts to allege affiliation only under the first and third of the proper standards.23 Even in that

  regard, however, the Seikels fail to plausibly allege a claim upon which relief can be granted.24

          Under the test for “affiliation based on ownership,” affiliation arises when “an individual,

  concern, or entity that . . . owns or has the power to control more than 50 percent of the concern’s

  voting equity.” Id. § 121.301(f)(1). The Seikels allege that Alvarez has an ownership interest in

  ERG and ET360. ECF No. 80 ¶¶ 31,33.25 The Seikels do not, however, allege that Alvarez owns

  more than 50 percent of the voting equity in either entity. See id. Accordingly, the Seikels fail to

  sufficiently allege that the test for affiliation based on ownership has been satisfied. Instead, the

  Seikels’ allegations regarding ownership do not concern, in any manner, whether Alvarez owns or

  has the power to control more than 50 percent of the Henderson Companies’ voting equity and are

  thus irrelevant to the determination of affiliation based on ownership. See id. ¶¶ 104–11.

          Next, under the test for “affiliation based on management,” “[a]ffiliation arises where the

  CEO or President of the applicant concern (or other officers, managing members, or partners who

  control the management of the concern) also controls the management of one or more other

  concerns.” 13 C.F.R. § 121.301(f)(3). Further, “[a]ffiliation also arises where a single individual,

  concern, or entity that controls the Board of Directors or management of one concern also controls



  23
      The second enumerated test (affiliation arising under stock options, convertible securities, and
  agreements to merge) is inapplicable because there are no stock options, convertible securities, or
  agreements to merge applicable to ERG or ET360. The fourth enumerated test (affiliation based on identity
  of interest) is also inapplicable on its face because Henderson and Alvarez do not satisfy the definition of
  “close relatives” pursuant to 13 C.F.R. § 120.10. The Realtors have not alleged that the Henderson
  Defendants are affiliated with any other Defendants under either of these tests.
  24
     The Seikels cite to 13 C.F.R. § 121.103(a) regarding affiliation, see ECF No. 80 ¶¶ 57–60, 103; however,
  the SBA’s guidance directs that the applicable affiliation standards for PPP loans are those contained in the
  2019 version of § 121.301(f), such that the SBA has expressly limited the scope to only the four tests for
  affiliation. See 13 C.F.R. § 301(f); Affiliation Rules Applicable to U.S. Small Business Administration
  Paycheck Protection Program, SBA.GOV (Apr. 3, 2020), https://www.sba.gov/sites/default/files/2020-
  04/Affiliation%20rules%20overview%20%28for%20 public %29%20v2.pdf.
  25
     The Seikels have not alleged that Henderson has an ownership interest in any of the other Defendant
  entities, so further analysis under that test is not necessary regarding Henderson’s control of such entities.


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  the Board of Directors or management of one of more other concerns.” Id. Finally, “[a]ffiliation

  also arises where a single individual, concern or entity controls the management of the applicant

  concern through a management agreement.” Id.

          As noted on the publicly available West Virginia Secretary of State website, ET360 is a

  member-managed limited liability company, and Jason Henderson is the sole member.26 Pursuant

  to West Virginia Code Section 31B-4-404, “any matter relating to the business of the company

  may be decided by a majority of the members.” Henderson, as the sole member, controls the

  management of ET360. As noted on the West Virginia Secretary of State website, ERG is a

  manager-managed limited liability company.27 Pursuant to West Virginia Code Section 31B-4-

  404, in a manager-managed limited liability company, “any matter relating to the business of the

  company may be exclusively decided by the manager or, if there is more than one manager, by a

  majority of the managers.” Jason Henderson, John Henderson, and Rick Richards are designated

  as managers of ERG and thus control the management of ERG.28 Accordingly, neither Alvarez nor

  any other Defendant had the type of management control sufficient to support a finding of

  affiliation. The Seikels have not sufficiently pleaded otherwise. Instead, again, the Seikels’

  amended complaint does not contain allegations about who, under the structure of the entities,

  controls the management but only contains allegations that are irrelevant to the test for affiliation

  based on management under the standard. See ECF No. 80 ¶¶ 112–26. The Seikels’ pleading of

  facts that are irrelevant to the applicable standard further demonstrates their attempt at a “totality

  of the circumstances” approach and failure to understand the applicable tests for affiliation.

          Because the Seikels fail to sufficiently allege affiliation, the Henderson Defendants must



  26
     See supra footnote 12.
  27
     See supra footnote 11.
  28
     Id.


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  be considered individually, and the Henderson Defendants were individually eligible to apply for

  and receive PPP funding, even assuming the employee numbers alleged in the amended complaint

  to be true. As such, the Henderson Defendants did not make any false statement that could

  constitute a basis for the Seikels’ FCA claims. Accordingly, the Seikels fail to state a plausible

  claim upon which relief can be granted, and the amended complaint should be dismissed.

                         b.      In the Alternative, the Seikels Fail to Sufficiently Plead That the
                                 Alternative Size Standard Does Not Apply.

         In the alternative, even if the Defendants were considered in the aggregate, the Court should

  nonetheless dismiss the amended complaint because the Defendants would satisfy the Alternative

  Size Standard, and the Seikels have not sufficiently pleaded otherwise. As discussed above, the

  SBA has expressly stated that the Alternative Size Standard is a viable basis for PPP application.

  As described above, the “alternative size standard” is a two-prong test. First, the entity’s, and all

  its affiliated companies’, maximum tangible net worth cannot be more than $15 million. Second,

  the entity, and all its affiliated companies, cannot have an average net income after federal income

  taxes for two full fiscal years that exceeds $5 million. Importantly, the Alternative Size Standard

  does not require the entity, and its affiliated companies, to have 500 or fewer employees.

         Although the Seikels allege that the Defendants did not qualify for PPP funding under the

  Alternative Size Standard, the Seikels’ interpretation of the law is erroneous on its face. First, the

  Seikels allege that the Alternative Size Standard does not apply because the Henderson

  Defendants’ applications were submitted before the April 6, 2020 FAQs were issued. See ECF No.

  80 ¶ 173. However, the April 6, 2020 FAQs concerning the Alternative Size Standard expressly

  apply to “First Draw PPP Loans,” without restriction on when applications are submitted. See

  supra footnote 2. Further, the relevant FAQ provides that an applicant needed to meet the

  Alternative Size Standard’s tests “as of March 27, 2020,” indicating that the Alternative Size



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  Standard applied retroactively. The Seikels’ attempt to restrict the application of the Alternative

  Size Standard conflicts with the SBA guidance. The Seikels also attempt to plead that the

  Alternative Size Standard does not apply based on unfounded estimates of the Defendants’ assets

  and payroll costs. ECF No. 80 ¶¶ 175–76. Such conclusory estimates are insufficient to plausibly

  plead that the Defendants would not have qualified under the Alternative Size Standard.

         Accordingly, even if the Court finds that the Seikels have sufficiently pleaded affiliation,

  and that the Defendants should be aggregated for determination of PPP eligibility, the Seikels have

  failed to sufficiently plead that the Henderson Defendants did not satisfy the Alternative Size

  Standard. As such, their applications cannot have included any false statements, and the Seikels’

  FCA claims cannot stand. The Court should thus dismiss the amended complaint.

                         c.      The Seikels Fail to Sufficiently Plead That the Purportedly False
                                 Claims Were Made with the Requisite Scienter.

         Even if the Henderson Defendants made false statements in their PPP applications, which

  the Henderson Defendants deny, the amended complaint should nonetheless be dismissed because

  the Seikels fail to sufficiently allege that such statements were made with the requisite scienter.

  Under the FCA, “knowing” means “that a person, with respect to information—(i) has actual

  knowledge of the information; (ii) acts in deliberate ignorance of the truth or falsity of the

  information; or (iii) acts in reckless disregard of the truth or falsity of the information.” 31 U.S.C.

  § 3729(b)(1)(A). Where a defendant’s reading of a relevant statute “was at the very least

  objectively reasonable and because it was not warned away from that reading by authoritative

  guidance, it did not act ‘knowingly’ under the False Claims Act.” United States ex rel. Sheldon v.

  Allergan Sales, LLC, 24 F.4th 340, 343–44 (4th Cir. 2022); see also United States ex rel. Swafford

  v. Borgess Med., 24 F. App’x 491, 2001 WL 1609913, at *1 (6th Cir. 2001) (per curiam) (“Disputes

  as to the interpretation of regulations do not implicate False Claims Act liability.”); United States



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  ex rel. Burlbaw v. Orenduff, 548 F.3d 931 (10th Cir. 2008) (holding that even if the relator’s

  evidence “somehow did raise a weak inference that a particular defendant” intended to

  misrepresent its eligibility, “this would not be enough to reach a jury” because the ambiguity of

  “the applicable statutory and regulatory scheme[] preclude a reasonable jury from finding

  scienter”); United States ex rel. Hixson v. Health Mgmt. Sys., 613 F.3d 1186, 1191 (8th Cir. 2010)

  (requiring relators to “show that there is no reasonable interpretation” of the law supporting the

  defendant’s position, regardless of what the defendants may have actually believed about the law).

         Here, the Seikels have not sufficiently alleged that the Henderson Defendants knowingly

  made a false claim through their PPP applications. The Seikels merely allege that that the

  “Defendants knew, or at the very least should have known, that they were affiliated.” ECF No. 80

  ¶ 64. This allegation is supported by allegations that call for inference but without an allegation

  that the Henderson Defendants had actual knowledge. Id. Further, regardless of whether the

  Henderson Defendants should be considered affiliated with any other Defendants, the Henderson

  Defendants’ understanding of the relevant guidelines regarding the PPP application requirements

  is at the very least objectively reasonable. The Seikels have failed to allege any “authoritative

  guidance” that warned away from the Henderson Defendants’ reading of the relevant guidelines.

  Accordingly, the Seikels have failed to sufficiently plead that the Henderson Defendants acted

  with the requisite scienter, and the amended complaint should thus be dismissed.

                         d.      The Seikels Fail to Sufficiently Plead That the Purportedly False
                                 Claims Were Material.

         Further, even if the Henderson Defendants made false statements in their PPP applications,

  which the Henderson Defendants deny, the amended complaint should be dismissed because the

  Seikels fail to sufficiently allege that the falsity of such statements was material. The Fourth Circuit

  has held that a relator must allege “both materiality and a ‘false statement or fraudulent course of



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  conduct’ as distinct elements of an FCA claim.” United States ex rel. Rostholder v. Omnicare, Inc.,

  745 F.3d 694, 702 (4th Cir. 2014) (citation omitted) (emphasis in original).

         The Supreme Court of the United States has held that the misrepresentation “must be

  material to the Government’s payment decision in order to be actionable under the False Claims

  Act.” Universal Health Servs., Inc. v. United States ex rel. Escobar, 579 U.S. 176, 192 (2016). A

  misrepresentation should not be deemed “material” solely because the government designates

  compliance with a certain statutory, regulatory, or contractual requirement as a condition of

  funding. Id. at 178. The Supreme Court of the United States has likewise emphasized that “the

  False Claims Act is not a means of imposing treble damages and other penalties for insignificant

  regulatory or contractual violations.” Id. at 196. In determining whether a misrepresentation is

  material, courts consider: (a) whether the government expressly designated the provision as a

  condition of payment; (b) whether there is evidence the defendant knew that the government

  consistently refused to pay claims in cases based on noncompliance with the particular statutory,

  regulatory, or contractual requirement; and (c) whether the government paid a particular claim in

  full despite its actual knowledge that certain requirements were violated. Id. at 194–95.

         Here, even if the Henderson Defendants’ PPP applications contained false statements, the

  Court should nonetheless dismiss the amended complaint because the Seikels have not sufficiently

  alleged the materiality of the statements. The Seikels fail to allege that the purported falsity of any

  statement within the PPP applications was material to the government’s decision to issue PPP

  funding. See ECF No. 80 ¶¶ 211–26. As failure to comply with a statutory or regulatory

  requirement is, alone, insufficient to establish the materiality threshold, the Seikels’ fail to

  sufficiently allege that the purported failure of the Henderson Defendants to satisfy the size

  standard would have been material to the issuance of the PPP loans. The Court should thus dismiss




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  the amended complaint for failure to state a claim upon which relief can be granted.

                  3.       The Court Should Not Grant Leave for the Seikels to Further Amend
                           the Amended Complaint.

          If the Seikels request further leave to amend, the Court should decline the request. The

  Federal Rules of Civil Procedure provide that a court should “freely give leave” to amend “when

  justice so requires.” Fed. R. Civ. P. 15(a)(2). Here, the Seikels failed to amend their original

  complaint, filed on October 22, 2020, until after the Henderson Defendants and Alvarez

  Defendants moved to dismiss the complaint on February 28, 2023, despite the facts purportedly

  uncovered by the Seikels’ investigation and the ongoing investigation by the Department of

  Justice.29 The amended complaint, however, fails to cure the deficiencies identified by the

  Defendants and should be dismissed for the same reasons. To permit the Seikels to amend their

  amended complaint again, over two years after it was originally filed and after failing to cure the

  deficiencies identified in the Defendants’ earlier motions to dismiss, would be unjust.

  V.      CONCLUSION

          WHEREFORE, for all of the foregoing reasons, Defendants Jason P. Henderson, Energy

  Resource Group, LLC, and ET360, LLC respectfully request the Court to grant their motion and

  enter an order dismissing the amended complaint against them with prejudice.




  29
    The Seikels also failed to amend their complaint after they became aware of facts that expressly contradict
  certain allegations in the complaint. On October 27, 2020, only five days after the complaint in this action
  was filed, in a separate matter before this Court in which the Seikels were named defendants, Richards v.
  Octane Environmental, LLC, No. 1:18-cv-00158 (N.D. W. Va.), Defendant Alvarez sat for a deposition.
  See Richards, ECF No. 28–9. Both Seikels were present for this deposition. As part of this deposition,
  Alvarez testified, under oath, that he does not own ERG, that he never had an ownership interest in ERG,
  and that ERG is Henderson’s company. Id. at 10:5–14; 16;10–21; 17:1–8; 42:5–13. Alvarez also clarified
  that, although he was involved in starting ET360, ET360 is now Henderson’s company. Id. at 32:4–14. If
  the Seikels did not amend their complaint to correct the record after learning these salient facts over two
  years ago, the Court should not grant them leave to do so now.


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                                            and ET360, LLC




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                                  CERTIFICATE OF SERVICE

          I hereby certify that on the 4th day of May 2023, a true and correct copy of the foregoing

  “Memorandum of Law in Support of Henderson Defendants’ Motion to Dismiss Amended

  Complaint” was electronically filed and served through the Court’s CM/ECF system on counsel

  of record listed as:


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